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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

          NOTICE TO THE COURT REGARDING ORDER NO. 239
         AND A NEW MOTION TO PRODUCE VARIOUS CASE FILES

       In Order No. 239, the Court partially granted a government crossmotion (ECF No. 130),

which resulted in the Court making the conditions of my protective order to be more strict than

those of any other January 6 defendant. Essentially, the Court required me to return any files

related to my case that the government designated as sensitive or highly sensitive after my case

was resolved. In ECF No. 253, I moved the Court to reconsider that order due to many of these

files being irreversibly intertwined with my case notes and files, which I would like to keep for

my personal records. In Order No. 326 at 9, the Court denied my motion for reconsideration, but

clarified that I may retain those materials through the conclusion of any needed appeals process.

       However, since that time the administration of the D.C. U.S. Attorney’s office has

changed, and I have asked the new U.S. Attorney if the government is opposed to me keeping

these files with my case notes. Per the protective order, ECF No. 26, it is up to the government to

designate the sensitivity of materials, and I have been told the government no longer considers

these specific items sensitive for me, specifically, to possess, so I am notifying the Court that I

am fully in compliance with the previous Court orders on this matter.
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New Motion for Various Materials

       In addition to keeping the case files I now have, I am also moving for the government to

produce all outstanding files and information requested by my various motions, and a copy of the

entire case file the government has put together on me. If the government decides not to provide

these items voluntarily, I am asking the Court to compel the government to produce them.

       This was a wrongful prosecution and last week, the government finally moved to dismiss

all of the false allegations against me. Two other counts were dismissed pre-trial due to the

government’s inability to provide particulars, one was dismissed due to the Supreme Court’s

decision in U.S. v. Fischer, and the five remaining charges were dropped this week. I was never

convicted of any offense, and I maintain my innocence and good looks.

       However, even though I have won my case, the government did attempt to make my life

hell for the last four years through a malicious prosecution. I want answers as to why the

government’s pursuit of me was so unprecedented and vindictive, and why certain files were

destroyed or withheld from me. I therefore am moving for the following items to be produced:


           •   The government’s entire case file on me, include case notes and work product.


           •   All internal government emails and communications regarding my case.


           •   All government communications with Kansas State University, including all FBI

               communications with former KSTATE President Richard Myers (who previously

               served as the Chairman of the Joint Chiefs of Staff under President Bush), and

               related files and memorandums.
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  •   All communications with Facebook and Instagram, banking and finance

      institutions, and any other companies that the government may have pressured

      overtly or through inference to ban me from their services.


  •   All files and communications related to the government’s failure to prevent the

      destruction of the bodycam recordings of my arrest. And specifically, I am

      requesting all communications and files related to the involvement of AUSA

      Kelly Moran and FBI Agent Clay Chase in this matter.


  •   The complete copy of FBI Informant James Ehren Knowles phone, including all

      media he recorded (which the government claimed was deleted), since this media

      was directly relevant to my case and would have been exculpatory. In addition to

      this, I am seeking all files and memorandums related to the deletion of this

      evidence, and communications between the FBI and Knowles.


  •   All records related to the man who pushed me into the Capitol, Nicholas Hofer,

      including records related to his security clearance and working relationship with

      the government (which the government has admitted to).


  •   All ex parte filings made by the government to the Court, including the filing

      related to how the government obtained my PayPal records without a warrant.


  •   All records related to any government watch lists I was placed on, and whether I

      am still on any government watch lists.


  •   All records related to any use of FISA warrantless surveillance, or other initial or

      ongoing surveillance made by the government in my case.
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  •   All records of any government agents, contractors, and informants I came within

      100 feet of on January 6, 2021.


  •   All video and other media recordings the government has of me from January 6.


  •   All records related to any government agents, informants, or contractors who

      attempted to, or did, communicate with me in the last four years.


  •   All records related to the Court-ordered Capitol tour I took in October 2024,

      including all media recorded by the agents who followed me during that tour, and

      any notes and memorandums that were made by the agents and AUSAs.


  •   All records related to any government efforts to suppress my reach on social

      media, and all records related to internal government reactions to anything I

      posted on social media after January 6, 2021.


  •   All records related to the government’s decision to charge me even though they

      acknowledged that I should have had protected status as a journalist.


  •   All records related to the pressure the government placed on case agents to rush

      my arrest as soon as possible, including the names of who was pressuring them.


  •   All records related to any coordination between the government and members of

      the press or the January 6 committee that is related to my case.


  •   All records related to the government’s use of the so-called ‘sedition hunters’ to

      prepare a dossier on me.
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  •   An unredacted copy of the complete internal investigation reports of undercover

      MPD Officer Tomasula, and his supervisor Lt. Barcus, as well as any video and

      photos recorded by undercover MPD that has not yet been produced in discovery.


  •   Unredacted copies of all files related to former FBI liaison John Guandolo’s

      presence at the Capitol, as well as all information related to the active-duty FBI

      agents and undercover police Guandolo was with and/or met with on Capitol

      grounds, including any media recorded by these agents and all files and

      memorandums related to their presence and activities at the Capitol.


  •   All information on whether each of the government agents listed in my motion for

      Raindrop Theory (ECF No. 252 at 9) were on-duty at the Capitol on January 6, as

      well as a total count on the number of plain-clothes federal agents, informants,

      and contractors who were on Capitol grounds on January 6.


  •   All information related to former FBI Agent John Dew and Todd Wetzelberger’s

      presence and activities at the Capitol on January 6, including any satellite phone

      records and any media they recorded near me and my brother.


  •   All information related to the government’s use of temporary cellular towers and

      a mass geofencing warrant to collect my phone data on January 6, 2021, and any

      information on whether the government used technology to suppress cell signals.


  •   All records related to the FBI visiting my friends, family, and acquaintances

      during this case to try and intimidate them and me.


  •   Any Brady materials that were withheld from me.
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       If the government agrees to provide these items voluntarily, I will file notice to the Court

that this motion is moot. But if not, I move for the Court to compel full production.

       Respectfully submitted to the Court,

                                                      By: William Pope

                                                          /s/


                                                      William Pope
                                                      Pro Se Officer of the Court
                                                      Topeka, Kansas




                                         Certificate of Service
   I certify a copy of this was filed electronically for all parties of record on January 28, 2024.
                                                   /s/
                                   William Alexander Pope, Pro Se
